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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION




 IN RE: REAL ESTATE COMMISSION                               MDL No. 3100
 ANTITRUST LITIGATION




  INTERESTED PARTY PLAINTIFF ROBERT FRIEDMAN’S RESPONSE TO THE
 JOINT STATEMENT BY SETTLING DEFENDANTS IN THE THREE NATIONWIDE
CLASS SETTLEMENTS THAT HAVE BEEN PRELIMINARILY APPROVED AND ARE
    PENDING FINAL APPROVAL IN THE WESTERN DISTRICT OF MISSOURI


       Interested Party Robert Friedman (“Friedman”), plaintiff in the action Friedman v. The

Real Estate Board of New York, Inc., et al., No. 1:24-cv-00405 (S.D.N.Y.) (the “Friedman

Action”), hereby submits this Response to the Joint Statement by Settling Defendants in the

Three Nationwide Class Settlements That Have Been Preliminarily Approved and are Pending

Final Approval in the Western District of Missouri, ECF No. 499 (the “Joint Statement”). In the

Joint Statement, Anywhere Real Estate, Inc.; RE/MAX, LLC; and Keller Williams Realty, Inc.

(collectively, the “NAR Settling Defendants”) claim that Friedman was incorrect in stating that

the proposed class in the Friedman Action is not covered by the NAR Settling Defendants’

settlement agreements in Burnett v. Nat’l Ass’n Realtors, No. 19-cv-332 (W.D. Mo.) (“Burnett”).

It is the NAR Settling Defendants, not Friedman, who are mistaken.1


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        The NAR Settling Defendants also assert that Interested Party Plaintiff Robert
Friedman’s Response in Opposition to Motion for Transfer of Friedman v. The Real Estate Board
of New York, Inc. et al., No. 1:24-CV-00405 (S.D.N.Y.), Pursuant to 28 U.S.C. § 1407, ECF
No. 384 (the “Friedman Opposition”), was untimely. See Joint Statement, at 1. Not so. The
Friedman Action was not among the cases that were the subject of the Motion to Transfer actions
to the Western District of Missouri for coordinated or consolidated pretrial proceedings. See
ECF No. 1. The Friedman Action was first identified as a potential tag-along action by the
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       The NAR Settling Defendants’ settlement agreements in Burnett define the “Settlement

Class” as including “all persons who sold a home that was listed on a multiple listing service

anywhere in the United States where a commission was paid to any brokerage in connection with

the sale of the home.” Joint Statement at 2 (emphasis added). The term “multiple listing

service” or MLS is trademarked by NAR and is specifically tied to NAR control of a listing

service through local NAR-affiliated associations and/or NAR members who are subject to NAR

rules. Friedman Opposition, ECF No. 384, at 3-4. The term “multiple listing service” therefore

cannot encompass the Real Estate Board of New York, Inc.’s (“REBNY”) Residential Listing

Service, which is not a multiple listing service and is governed by rules imposed by REBNY that

have nothing to do with NAR or its rules. Id. at 4-7.

       The NAR Settling Defendants’ contention that REBNY is encompassed in the settlement

just like MLS PIN is also incorrect. The “Settlement Class,” as set forth in the Settlement

Agreement, expressly encompasses MLS PIN while making no mention of REBNY or its

Residential Listing Service. See Burnett, ECF No. 1192-3, at ¶¶ 11, 18. This makes sense

because “MLS PIN is a REALTORS®-controlled entity,” and the alleged conspiracy under its

rules was facilitated “within the National Association of Realtors.” See Amended Complaint,

Nosalek, et al. v. MLS PIN, et al., No. 20-cv-12244 (D. Mass.), ECF No. 110, at ¶¶ 3, 9, 14, 53,

107. Indeed, the MLS PIN rules make explicit reference to REALTORS®, NAR, NAR

tribunals, and NAR rules. See MLS PIN Rules and Regulations, Section 7.2, available at:



National Association of Realtors® (“NAR”), in its opposition brief filed on January 23, 2024.
See ECF Nos. 197, 204. On February 5, 2024, the Clerk of the Panel issued a minute order
closing briefing, stating that “[p]arties in any potential tag-along action may file an Interested
Party response, but must do so promptly…” ECF No. 352. Thereafter, undersigned counsel
contacted the Clerk’s Office seeking and receiving confirmation that Friedman should file as an
interested party to the extent he wished to be heard on the motion to transfer pursuant to
28 U.S.C. § 1407.


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https://www.mlspin.com/document/mls-pin-rules-and-regulations. Neither REBNY nor its rules

make any such reference because, unlike MLS PIN, REBNY is entirely separate from NAR.

       More importantly, whether members of the proposed class in the Friedman Action are

bound by the releases contained in the NAR Settling Defendants’ settlement agreements depends

on whether the released conduct arises from an “identical factual predicate as that underlying the

claims in the settled class action.” TBK Partners, Ltd. v. W. Union Corp., 675 F.2d 456, 460 (2d

Cir. 1982); see also Walkinshaw v. CommonSpirit Health, No. 4:19CV3012, 2023 WL 1995281,

at *5 (D. Neb. Feb. 14, 2023) (“Plaintiffs and the Class are deemed conclusively to have released

and waived all claims against Defendants arising from the same factual predicate as those in the

Second Amended Complaint …”). Although this Panel is not tasked with opining on the scope

of the releases contained in the NAR Settling Defendants’ settlement agreements, we note for the

record that Burnett and Moehrl v. The National Association of Realtors, No. 1:19-cv-01610

(N.D. Ill.), which dealt exclusively with NAR rules and the alleged anticompetitive effects

thereof on multiple listing services, do not arise from the same “factual predicate” as the

Friedman Action, which deals exclusively with REBNY rules and the alleged anticompetitive

effects thereof on REBNY’s Residential Listing Service in certain neighborhoods in Brooklyn,

New York. See Friedman Opposition, ECF No. 384, at 11-12 (discussing the differences

between NAR rules and REBNY rules).

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Dated: March 19, 2024              Respectfully submitted,

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